Case
Case 1:20-cv-02702-RM-SKC
     1:20-cv-02702-RM-SKC Document
                          Document 125-4
                                   122-8 Filed
                                         Filed 02/14/22
                                               02/02/22 USDC
                                                        USDC Colorado
                                                             Colorado Page
                                                                      Page 121ofof2
                                      30




                                                                                      CSU1294
Case
Case 1:20-cv-02702-RM-SKC
     1:20-cv-02702-RM-SKC Document
                          Document 125-4
                                   122-8 Filed
                                         Filed 02/14/22
                                               02/02/22 USDC
                                                        USDC Colorado
                                                             Colorado Page
                                                                      Page 222ofof2
                                      30




                                                                                      CSU1295
